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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )         8:06CR231
             Plaintiff,                    )
                                           )         REPORT,
      vs.                                  )         RECOMMENDATION
                                           )         AND ORDER ON
MICHAEL BRIAN WRIGHT,                      )         GUILTY PLEA
                                           )
             Defendant.                    )

       After orally consenting to proceed before a magistrate judge, the defendant,
together with counsel and in the presence of counsel for government, appeared
before the undersigned and tendered a plea of guilty. Before doing so, defendant was
advised of the charges, the penalties and the right to appear before a United States
District Judge.

      After being sworn, the defendant was orally examined by me in open court as
required by Federal Rule of Criminal Procedure 11. The defendant was also given
the advice required by that Rule. Finally, the defendant was given a full opportunity
to address the court, and ask questions.

       Counsel for the government and counsel for the defendant were given the
opportunity to suggest additional questions by the court. Moreover, both counsel
orally certified that they were of the opinion that the plea was knowing, intelligent
and voluntary and that there was a factual basis for the plea.

       Therefore, I find and conclude that: (1) the plea is knowing, intelligent, and
voluntary; (2) there is a factual basis for the plea; (3) the provisions of Rule 11 and
any other provisions of the law governing the submission of guilty pleas have been
complied with; (4) a petition to enter a plea of guilty, on a form approved by the
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court, was completed by the defendant, defendant’s counsel and counsel for the
government, accompanied the defendant’s plea, and was placed in the court file; (5)
any plea agreement is in writing and was placed in the court file; (6) there are no
agreements or stipulations other than as contained in the written plea agreement.

      IT IS RECOMMENDED to Judge Laurie Smith Camp that, after de novo
review, she accept the guilty plea and find the defendant guilty of the crime(s) to
which the defendant tendered a guilty plea; and

[X]   she accept any written plea agreement placed in the court file understanding
      that such acceptance is subject to the provisions of U.S.S.G. Section 6B1.4(d).
      ("The court is not bound by the stipulation, but may with the aid of the
      presentence report, determine the facts relevant to sentencing.")

[]    she not accept the plea agreement at this time, but rather that she consider the
      Rule 11(c)(1)(C) agreement at sentencing.

       IT IS ORDERED that if any party desires to object to this report and
recommendation, they shall do so no later than 10 calendar days following the date
of this report and recommendation or they may be deemed to have waived the right
to object to adoption of the report and recommendation.

      DATED this 14th day of August, 2006.

                                               BY THE COURT:


                                               s/ F. A. Gossett
                                               United States Magistrate Judge




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